Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 1 of 13




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Civil Action No. 20-cv-01878-RBJ (consolidated with 20-cv-01922-RBJ)

 ELISABETH EPPS, et al.,

        Plaintiffs,

 v.

 CITY AND COUNTY OF DENVER, et al.,

        Defendants.


                 CLASS PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES


                                      Certificate of Conferral

        Defendant Denver and the Plaintiffs have conferred, and Denver takes no position on this

 motion.

                                             Introduction

        This Court having preliminarily approved the Class Action Settlement Agreement, the

 Class Plaintiffs (“Plaintiffs”) now move for attorneys’ fees pursuant to Federal Rule of Civil

 Procedure 23(h) for reaching that result.

        Achieving this Settlement did not come quickly or easily: it was reached on the eve of trial

 after three years of hard-fought litigation and two rounds of mediations, including one with a well-

 respected former magistrate judge of this District. Far outstripping Defendant’s initial offer to

 resolve this case for basically nuisance value, the Settlement now provides each Class Member
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 2 of 13




 with the ability to receive between approximately $2,800 to $16,800 each, with most Class

 Members receiving approximately $11,200.1 This is a substantial and excellent result for the Class.

         In consideration for the extensive time and effort Plaintiffs and Class Counsel expended to

 transform a case that Defendant valued at essentially zero into the largest single settlement that

 Defendant has thus far agreed to from the (many) 2020 protest cases and one which provides

 amounts comparable to (or more than) other class-actions settlements involving protest mass

 arrests, Plaintiffs seek attorneys’ fees in the amount of one-third (1/3) of the common fund

 ($4,720,000.00), or $1,573,333.33. As explained below, Class Counsel’s fee request is entirely

 reasonable under the Tenth Circuit’s factors for attorneys’ fees in common fund cases.

       Class Counsel’s Fee Request Satisfies Rule 23(h) and the Tenth Circuit’s Factors

         Rule 23(h) provides, “In a certified class action, the court may award reasonable attorney’s

 fees and nontaxable costs that are authorized by law or by the parties’ agreement.” Fed. R. Civ. P.

 23(h). Courts in this Circuit generally award attorney fees in common fund cases “based on a

 percentage of the common fund obtained for the benefit of the class,” thus “proportionately

 spreading payment of attorney fees among the class members.” Lucken Family Ltd. P’Ship, LLP

 v. Ultra Res., Inc., 2010 WL 5387559, at *2-3 (D. Colo. Dec. 22, 2010); Anderson v. Merit Energy

 Co., 2009 WL 3378526, at *2 (D. Colo. Oct. 20, 2009) (“Under Tenth Circuit law, attorneys’ fees

 in common fund cases are generally awarded based on a reasonable percentage of the fund

 created.”); Gottlieb v. Barry, 43 F.3d 474, 483 (10th Cir. 1994) (citing Uselton v. Commercial

 Lovelace Motor Freight, Inc., 9 F.3d 849, 953-54 (10th Cir. 1993), as expressing “a preference for



 1
  These calculations assume that the fee award is one-third and the costs of claims administration is
 $29,000.

                                                     2
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 3 of 13




 the percentage of fund method.”); see Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980)

 (“[T]his Court has recognized consistently that a litigant or lawyer who recovered a common fund

 for the benefit of persons other than himself or his client is entitled to a reasonable attorney’s fee

 from the fund as a whole.”). Courts look to the twelve factors articulated by the Fifth Circuit in

 Johnson v. Georgia Hwy. Exp., Inc., 488 F.2d 714 (5th Cir. 1974). See Rodriguez v. 5830

 Restaurant Corp., 2023 WL 1507195, at *8 (D. Colo. Feb. 3, 2023); Brown v. Phillips Petroleum

 Co., 838 F.2d 451, 454 (10th Cir. 1988) (“Because [the Johnson] factors measure the attorneys’

 contributions, they are [ ] appropriate in setting and reviewing percentage fee awards in common

 fund cases.”). The Johnson factors are: “(1) the time and labor required, (2) the novelty and

 difficulty of the question presented by the case, (3) the skill requisite to perform the legal service

 properly, (4) the preclusion of other employment by the attorney due to acceptance of the case, (5)

 the customary fee, (6) whether the fee is fixed or contingent, (7) any time limitations imposed by

 the client or the circumstances, (8) the amount involved and the results obtained, (9) the

 experience, reputation and ability of the attorney, (10) the ‘undesirability’ of the case, (11) the

 nature and length of the professional relationship with the client, and (12) awards in similar cases.”

 Johnson, 488 F.2d at 717-19. As discussed below, these factors weigh in favor of granting

 Plaintiffs’ motion.

  1.    Time and Labor Required

        Class Counsel dedicated significant resources and time to investigating, developing,

 litigating, and negotiating the settlement of this case. See Ex. 1 (Wang Decl.). Class Counsel

 developed the facts and legal theories for the Class claims from the very beginning of the litigation,

 through interviews of potential clients, class members, and witnesses, and researching the relevant


                                                   3
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 4 of 13




 substantive law. Id. ¶ 5. Class Counsel pursued targeted discovery to develop evidence to survive

 summary judgment on the Class claims. During discovery, Class Counsel unearthed crucial text

 messages that showed that Denver selectively targeted enforcement of the curfew against

 individuals engaged in protest activity. Id. ¶ 8. This evidence was important to the Court’s denial

 of summary judgment on the Class’s First and Fourteenth Amendment claims. See Dkt. 304.

        In addition to engaging in extensive discovery, see Ex. 1 (Wang Decl.) ¶¶ 6, 8, Class

 Counsel briefed the motion for class certification and summary judgment, which took a significant

 amount of time, as reflected in Class Counsel’s timesheet. In addition, after the Class was certified,

 Class Counsel spent a significant amount of time ensuring that Class Members were appropriately

 notified and the requirements of due process satisfied. Id. ¶ 7. This required not only obtaining the

 arrest and jail records from Denver, but also reviewing the records to ensure that only individuals

 falling within the definition of the Class were included and researching public records databases

 to find current addresses for the Class Members. Id. Many of the addresses for the Class Members

 were not on the documents produced by Denver in discovery, or if they were, they were not current.

 Some of the Class Members’ names were also misspelled or written down on the arrest paperwork

 incorrectly. This meant that Class Counsel had to spend time and resources finding the correct

 information on their own. Id. Class Counsel then effectuated direct notice of the Court’s

 certification order to the Class Members. Id.

        The parties’ first mediation, in January 2022, was unsuccessful. Id. ¶ 10. At that time, the

 parties’ estimation of the value of the case was very far apart. Defendant presumably hoped that it

 would be successful in dismissing the Class’s claims at summary judgment, and that a jury would

 not value the Plaintiffs’ damages on their individual claims at the March 2022 trial very highly. It


                                                   4
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 5 of 13




 was not until Plaintiffs—through the hard work of their counsel—were able to overcome summary

 judgment and obtain a $14 million verdict on the individual claims at the March 2022 trial, that

 the parties were able to restart negotiations in the months leading up to the scheduled April 2023

 trial of the Class claims.

         Class Counsel spent a significant amount of time preparing for settlement discussions and

 the March 2023 mediation, including gathering data on the amount of time each Class Member

 was in custody so that a fair proposal could be made regarding how much of the Settlement each

 Class Member would receive. Id. ¶ 12. Class Counsel also prepared intensively for trial, including

 drafting jury instructions, reviewing potential trial exhibits and drafting the exhibit list, drafting a

 trial brief and potential motions, researching damages issues, designing trial strategy, and

 interviewing Class Members to determine which Class Members to call to testify at the trial in

 support of the Class claims. Id. ¶ 11; see also Ex. 1 (Wang Timesheet) and Ex. 5 (Owens

 Timesheet).

         Class Counsel also spent many hours drafting the Settlement Agreement and writing the

 motion for preliminary approval. See Ex. 1 (Wang Timesheet). Since preliminary approval, Class

 Counsel (including their paralegal) has fielded questions from Class Members and worked to

 ensure that Class Members receive notice and are able to reap the rewards of the Settlement. Id.

 (Wang Decl.) ¶ 17. Class Counsel will spend many more hours between now and the final approval

 hearing on November 20, 2023 fielding questions from and/or interviewing Class Members (about

 their amount of time in custody to ensure they receive the appropriate shares of the settlement),

 drafting a motion for final approval, addressing any objections to the Settlement, preparing for and

 attending the hearing, and working with the Claims Administrator to ensure the Settlement is


                                                    5
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 6 of 13




 properly administered. See id. ¶ 21. Those hours yet to be incurred are not included in the

 timesheets filed with this motion.

         The Tenth Circuit permits but does not require courts to consider the lodestar and perform

 a “lodestar cross-check” when determining a fee award in a common fund class action settlement.

 Voulgaris v. Array Biopharma, Inc., 60 F.4th 1259, 1265 (10th Cir. 2023) (“the district court was

 not required to perform a lodestar cross-check”). To date, Class Counsel has spent a total of

 1,218.25 hours investigating, litigating, and negotiating the resolution of this case. Id. ¶ 20. The

 rates sought for Loevy & Loevy attorneys and paralegals are the same or similar to what was

 awarded by the Court last year. Compare Dkt. 445 with Ex. 1 (Wang Decl.) ¶ 20. Class Counsel’s

 lodestar is $510,098.75.2 The requested $1,573,333.33 (one-third of the common fund) represents

 an enhancement of the lodestar by a multiplier of 3, which is below the range of fee multipliers

 approved in Colorado in other class-action cases and is reasonable given the result obtained for

 the Class and the high risk of non-payment . See Rodriguez, 2023 WL 1507195, at *9; Mishkin v.

 Zynex, Inc., 2012 WL 4069295, at *2 (D. Colo. Sept. 14, 2012) (collecting cases in the District of

 Colorado approving lodestar multipliers ranging between 2.5 and 4.2); In re Miniscribe Corp., 309

 F.3d 1234, 1245 (10th Cir. 2002) (affirming fee award based on lodestar multiplier of 2.57);

 Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1050 (9th Cir. 2002) (lodestar multiplier of 3.65 in

 the cross-check analysis was reasonable). Plaintiffs have attached the declarations and timesheets

 reflecting the substantial amount of time and labor spent in litigating the Class claims and obtaining

 this Settlement. Ex. 1 (Wang Decl. & Timesheet, with L&L Firm Resume attached as Ex. A); Ex.


 2
  The Tenth Circuit has observed that when the lodestar is used “as a mere cross-check, the hours
 documented by counsel need not be exhaustively scrutinized by the district court.” Voulgaris, 60 F.4th at
 1267 (internal quotation marks and citation omitted).

                                                     6
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 7 of 13




 2 (Rutahindurwa Decl. & Timesheet); Ex. 3 (Thompson Decl. & Timesheet); Ex. 4 (Rauscher

 Decl. & Timesheet); Ex. 5 (Owens Decl. & Timesheet); Ex. 6 (Roche Decl. & Timesheet); Ex. 7

 (Hilke Decl. & Timesheet); Ex. 8 (Swift Decl. & Timesheet); Ex. 9 (Loy Decl. & Timesheet); Ex.

 10 (Gee Decl. & Timesheet).3

     2.   Novelty and Difficulty of the Question Presented by the Case

          Whether the Class’s First and Fourteenth Amendment claims—which alleged that the

 curfew was unconstitutional and unconstitutionally enforced—would survive summary judgment

 was never guaranteed at the outset of this case. Denver’s curfew was unique; there were no other

 similar cases in this Circuit that had previously paved the path to success on the Class’s claims,

 and there were few cases even outside this Circuit that involved allegations of unconstitutional

 curfews imposed during protests. Although Plaintiffs knew from their own experience during the

 protests that Denver’s curfew was enforced only against those engaged in protest activity, Class

 Counsel had to gather information from witnesses to corroborate this and gather sufficient

 evidence during discovery to prove that this was a matter of Denver policy or practice, in order to

 get a jury trial against Denver. The prospects of settlement were dim before the Class claims

 survived summary judgment.

     3.   The Skill Requisite to Perform the Legal Service Properly

          The Settlement obtained by Class Counsel for the Class would not have been achieved if




 3
   Another way to think about why the reasonable fee award in this case is a percentage of the common
 fund as opposed to simply the lodestar calculation, is that in a fee-shifting case, the Court has to consider
 the reasonableness of ordering the defendant to pay the plaintiff’s attorney’s fee award. In this case,
 where the fee is coming out of the common fund which the defendant has already agreed to pay, the
 beneficiaries of the Settlement (the Class Members) are simply sharing the payment of fees to their
 counsel.

                                                       7
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 8 of 13




 it were not for Class Counsel’s skill and experience in litigating civil rights and class action cases.

 This required skill at every step of the case. Class Counsel had the vision at the beginning of the

 litigation to see that the curfew arrestees had viable claims, and drafted a complaint that could

 withstand a motion to dismiss.4 Class Counsel conducted discovery targeted at obtaining the

 evidence that would support their claims (and damages), they shaped the facts and arguments at

 summary judgment so that the Class get a trial on their claims, and they proved (at the March 2022

 trial) that they were trial lawyers who could obtain excellent results for their clients and be

 persuasive to a jury. All of this, in addition to Class Counsel’s work at the end of the case to obtain

 the best settlement possible for the Class, required skill and experience to perform the legal service

 properly.

     4.    The Preclusion of Other Employment by the Attorney Due to Acceptance of the Case

           Loevy & Loevy spent a total of 1,218.25 hours over three years litigating the Class claims

 to a successful conclusion, including 586 hours incurred by lead counsel Elizabeth Wang. Class

 Counsel spent significant time on this case, remuneration for which was entirely contingent on the

 outcome of the matter. The time spent on this case precluded work on other worthwhile cases. See

 Rodriguez, 2023 WL 1507195, at *10.

     5.    The Customary Fee

           The requested one-third of the common fund is well within the customary fee. Courts have

 generally found a one-third percentage of the common fund to be reasonable. See Cordova-

 Gonzalez v. TW Lath-N-Stucco, Inc., 2023 WL1767242, at *7 (D. Colo. Feb. 3, 2023); Tennille v.

 Western Union Co., 2013 WL 395514, at *16 (D. Colo. Dec. 31, 2013) (“From a percentage of the


 4
     Indeed, Denver never filed a motion to dismiss.

                                                       8
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 9 of 13




 fund perspective, the customary fee in this District is approximately one-third of the total economic

 benefit to the class.”); Lucken, 2010 WL 5387559, at *5-6 (same); Paulson v. McKowen, 2023 WL

 2528783, at *7 (D. Colo. Mar. 15, 2023) (approving one-third of the common fund as fees);

 Vaszlavik v. Storage Tech. Corp., 2000 WL 1268824, at *4 (D. Colo. Mar. 9, 2000) (“requested

 fee of 30% of settlement is well within the ordinary range of common fund awards,” and “[a] 30%

 common fund award is in the middle of the ordinary 20%-50% range and is presumptively

 reasonable”); Rodriguez, 2023 WL 1507195, at *10 (approving 33% as within the customary fee

 for common fund case). The Tenth Circuit recently stated, “we have not adopted a benchmark

 percentage for attorneys’ fees from common fund settlements. And we decline to pronounce a

 bright-line benchmark today. Instead, we reiterate our prior recognition that awards across a range

 of percentages may be reasonable.” Voulgaris, 60 F.4th at 1263-64 (affirming district court’s

 determination that 33% was reasonable).

         Class Counsel has also expended over $2,400 in unreimbursed litigation costs attributable

 solely to litigation of the Class claims. Ex. 1 (Wang Decl.) ¶ 22. They will cover that amount out

 of their fees.

   6.    Whether the Fee Is Fixed or Contingent

         Class Counsel agreed to undertake the claims of the Plaintiffs on a contingent fee basis,

 because the amount of individual recovery at issue would not justify retention on an hourly basis.

 Id. ¶ 19. This meant that if Plaintiffs did not prevail, counsel would not have recovered any fees.

 “[C]ontingency fees provide access to counsel for individuals who would otherwise have difficulty

 obtaining representation … and transfer a significant portion of the risk of loss to the attorneys

 taking a case. Access to the courts would be difficult to achieve without compensating attorneys


                                                  9
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 10 of 13




 for that risk.” In re Abrams, 605 F.3d 238, 245-46 (4th Cir. 2010). Most individuals whose civil

 rights are violated by law enforcement—including Plaintiffs and the Class Members here, cannot

 afford to retain counsel at an hourly rate, but are willing to pay a portion of any recovery they may

 receive in return for successful representation. See Wells v. Sullivan, 907 F.2d 367, 371 (2d Cir.

 1990) (“a contingency agreement is the freely negotiated expression both of a claimant’s

 willingness to pay more than a particular hourly rate to secure effective representation, and of an

 attorney’s willingness to take the case despite the risk of nonpayment.”).

   7.    Any Time Limitations Imposed by the Client or the Circumstances

         This factor is not relevant because this case proceeded through a normal course of

 litigation.

   8.    The Amount Involved and the Results Obtained

         The most important factor in any determination of whether a fee award is reasonable is the

 degree of success obtained. Phelps v. Hamilton, 120 F.3d 1126, 1132 (10th Cir. 1997). The

 Settlement of $4,720,000 for the class of over 300 Class members is an excellent result, and

 comparable (or better than) other class action settlements involving mass arrests at protests. See

 Dkt. 494 at 9-11. Another way to think about it is to analyze how much value the lawyers provided

 to the Class through their work and consider how much the case would have been worth without

 the lawyers’ efforts. There are some cases that have a high inherent settlement value because of

 the underlying facts. In those cases, the lawyers add some value by filing a complaint and

 negotiating the terms of the settlement, but it would be inaccurate to say that the efforts of those

 lawyers produce all—or even most of—the settlement value for the class. It is there for the taking.

 In a case like this one, however, the value that the Class ultimately received is not low-hanging


                                                  10
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 11 of 13




 fruit that merely requires a lawyer to step in and collect it. Rather, the value was created by the

 work that the lawyers have done in investigating the case, conducting discovery, certifying a class,

 showing Defendant would likely be held liable, and the potentially large amount of damages. The

 massive difference between the very low settlement offer in the January 2022 mediation and the

 final Settlement Agreement is attributable to the efforts of Class Counsel in defeating summary

 judgment and showing Defendant that it was vastly underestimating the potential damages (by

 obtaining a large verdict on the individual claims). An award of one-third of the benefit to the

 Class reasonably compensates Class Counsel for the value they added to the Class’s recovery. 5

          This factor weighs in favor of a finding of reasonableness of the one-third award sought.

     9.   The Experience, Reputation, and Ability of the Attorney

          Loevy & Loevy focuses its practice on, and has extensive experience in, representing

 individuals whose constitutional rights were violated by law enforcement or other governmental

 officials. Ex. 1 (L&L Firm Resume, Ex. A). Loevy & Loevy is also very experienced in class

 actions—and taking them to trial, which is rare. Id. Plaintiffs’ lead counsel, Elizabeth Wang, who

 billed by far the most hours on the Class claims, has extensive experience in civil rights and other

 complex litigation. Ex. 1 (Wang Decl.); see also Dkt. 380-2. In ruling on the Fitouri Plaintiffs’ fee

 petition filed after the trial last year, this Court stated of Ms. Wang, “She is a zealous advocate,

 and I have observed her work overall to be excellent.” Dkt. 445. The other Loevy & Loevy

 attorneys who helped obtain the Settlement were also experienced and skilled in civil rights and

 class action cases. See Exs. 2-7.


 5
  See In re Synthroid Marketing Litig., 264 F.3d 712, 720-21 (7th Cir. 2001) (requiring that class counsel
 be paid based on the value they provide for the class). This analysis is useful to consider, although the
 Tenth Circuit uses the 12-factor Johnson test.

                                                    11
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 12 of 13




  10.      The “Undesirability” of the Case

           Because Plaintiffs could not have afforded to hire counsel on an hourly fee basis, this case

 could only have been litigated via a contingency fee arrangement. The “undesirability” of the Class

 claims is shown by the fact that no other plaintiffs’ lawyers who filed cases against Denver for

 claims arising out of the protests attempted to litigate a class action on behalf of the curfew

 arrestees. And, even lawyers experienced in litigating First Amendment cases such as the ACLU

 of Colorado did not attempt to litigate the constitutionality of the curfew or its enforcement.

 Litigating a class action case such as this one required significant time and commitment, making

 the Class claims undesirable to other counsel not prepared to undertake such a commitment. This

 was not a case where significant (or even any) recover was “there for the taking.” Rather, the entire

 Settlement amount is due to Class Counsel’s legal victories and their readiness to take the case to

 trial. For that, they should be compensated reasonably.

  11.      The Nature and Length of the Professional Relationship with the Client

           This factor is not relevant because Plaintiffs’ counsel did not have a prior professional

        relationship with the Plaintiffs or any Class Member.

  12.      Awards in Similar Cases

           This factor has been discussed in connection with the customary fee factor in section 5,

 above.

                                               Conclusion

           For the foregoing reasons, the Court should grant Class Counsel Loevy & Loevy’s

 request for a fee award of one-third (1/3) of the common fund, or $1,573.333.33.




                                                   12
Case No. 1:20-cv-01878-RBJ Document 497 filed 10/10/23 USDC Colorado pg 13 of 13




 Respectfully submitted,

 s/ Elizabeth Wang
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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 10, 2023, the foregoing was filed with the Clerk of the
 Court using the CM/ECF system, which will serve all counsel of record in this matter.

                                                           s/ Elizabeth Wang




                                               13
